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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

RUTH CLARK,
                                               )
                                               )
                       Plaintiff,              )
                                               )
       v.                                      ) Case No.: 1:20-cv-671
                                               )
ELI LILLY AND CO.                              )
                                               )
                       Defendant               )


                                          COMPLAINT

   Plaintiff, Ruth Clark, by counsel, hereby files her Complaint against the Defendant, Eli Lilly

and Co., and in support thereof states:

   1. Plaintiff, Ruth Clark, resides at 2154 Walnut Meadow Ct., Indianapolis IN 46234.

   2. Defendant, Eli Lilly and Co. is located at its Corporate Center, Indianapolis IN 46285.

                                    JURISDICTION AND VENUE

    3. Federal question jurisdiction is presented in this case as Plaintiff, and the class she

intends to represent, claim violations of the Fair Labor Standards Act, the Age Discrimination in

Employment Act, and the Americans With Disabilities Act.

    4. Venue is proper in that the claims arose in this judicial district.

                                           BACKGROUND

     5. Plaintiff worked for Defendant for over 16 years as a Sr. Administrative Assistant.

     6. Plaintiff was not exempt from the overtime provisions of the FLSA and was occasionally

paid overtime.

     7. In August of 2018, Plaintiff asked a question at a Lilly CEO Connect meeting


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complaining that the recent changes to the Administrative Assistant role had caused most Lilly

Administrative Assistants to be overworked and had also diminished job satisfaction by reducing

our roles to being most meeting schedulers and calendar management. She asked what the CEO

was going to do about that. She also complained that the changes to their role did not offer

Administrative Assistants the ability to grow their career.

       8.      As a follow-up to immediate feedback she received from other employees,

Plaintiff scheduled a meeting over lunch time with a random collection of other Administrative

Assistants to gather their thoughts about how their jobs could be enhanced and improved from

the new job responsibilities. Minutes were recorded for the meeting and provided to

Administrative Services Center (ASC) Sr. Director, Ashlie Jonte and another ASC Manager.

       9.      When Plaintiff provided the minutes from her lunch time meeting to ASC

Management, it was noted that the minutes contained a statement alleging “all AAs work

overtime and don’t report it”.

       9.      As a result of Plaintiff’s question at CEO Connect, Plaintiff was immediately

called to have a one-on-one meeting with the then Vice President over the Administrative

Assistant pool, as well as the then Senior Director, and was questioned at length about her own

attempts to be promoted out of the Administrative Assistant role. She was also told by the Vice

President that “no U.S. corporation would ever look to the admin pool for talent.” Plaintiff was

also told that she was not permitted to call a meeting of other AAs to gather their thoughts as a

“think tank” to find equitable solutions to their job satisfaction. Meetings of that nature could

only be assigned to AAs by management seeking to gain more information, should that be

management’s desire.

     8. Also as a result of the statement in the minutes from Plaintiff’s lunch time meeting with



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other AAs regarding overtime, numerous supervisors and human resources persons focused their

attention upon Plaintiff. Defendant instructed Plaintiff to present a summary all of her overtime

hours over the 16 years she had been an employee.

     9. Plaintiff presented a summary showing that she had worked over 1500 overtime hours.

     10. After presenting this information Plaintiff’s supervisor (Ashlie Jonte) yelled at her for

asserting that she was owed overtime pay and that Plaintiff had wasted an inordinate amount of

Lilly resources to work on determining what, if anything, she was owed.

     11. Defendant paid Plaintiff a small amount allegedly to compensate Plaintiff for the

unpaid overtime, but the amount paid did not fully compensate Plaintiff for all amounts owed.

     12. After Plaintiff complained regarding overtime and a workload that necessitated it, she

was repeatedly yelled at by supervisors and disciplined unfairly.

     13. Plaintiff is one of approximately 300 Lilly employees in Indiana with the job title

Administrative Assistant 1 or 2, Sr. Administrative Assistant, or Senior Executive Administrative

Assistant, hereinafter referred to as “AA” or “EA”.

      14. All AAs are not exempt from overtime payment.

      15. In 2018, Defendant commenced a reduction in force or AAs in Indiana, leaving only

about 300 AAs in that position, which was approximately a 50% reduction in AAs to support the

same number of exempt employees.

       16. 300 AAs were not nearly enough to perform the work needed by Lilly exempt

employees who were eligible to receive AA support.

       17. Each AA was assigned more and more managers for whom they had to perform

clerical tasks such as calendaring meetings, scheduling travel, preparing expense reports,

preparing visa documents and various other clerical duties.



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        18. Plaintiff was assigned as many as seven or eight managers for whom she had to

perform tasks.

        19. Plaintiff and all the other AAs were provided cell phones and laptops and were

expected to complete tasks, knowing that they often ended up doing them from home, while on

vacation, and at all hours of the day or night.

        20. While Lilly human resources would often tell Plaintiff and other AAs that they could

not work overtime, the managers would demand that the work get done or else they would be

seen as not meeting expectations and would be put on Performance Improvement, causing

Plaintiff and the class she intends to represent to often work more than 40 hours per week

without reporting the hours worked.

        21. Plaintiff was also discriminated against due to her age (63 years old) and her

disability, which is Brachial Plexus Disorder, resulting from a should nerve block not wearing

off, which has impaired her ability to use her right hand and arm.

        22. Defendant attempted halfhearted measures to provide Plaintiff with a reasonable

accommodation, such as voice recognition software, which did not work.

        23. At the same time, Lilly supervisors threatened Plaintiff, telling her that if she did not

work at a level of 100%, they did not need her.

        24. Plaintiff reported these threats and mistreatment to Lilly Ethics and Compliance,

which only resulted in more threats and discipline.

        25. As a result of this mistreatment, Plaintiff was constructively discharged in September

2019.

                               COUNT I FLSA OPT-IN CLASS ACTION

        26. Plaintiff incorporates all prior paragraphs.



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        27. Plaintiff seeks to represent all similarly situation AAs in an opt-in class action

pursuant to 29 USC 216 (b).

        28. Plaintiff contends that Defendant treated all AAs in Indiana similarly in that

Defendant suffered and permitted its AAs to routinely work more than 40 hours a week but

failed and refused to pay overtime at 1.5 times the AAs’ regular hourly rate of pay for all hours

actually worked over 40 in a work week.

        29. Plaintiff seeks an order requiring Defendant to provide the names and addresses of

all AAs employed by Defendant in Indiana for a period of two years prior to the date this lawsuit

was filed, and further allow undersigned counsel to send a notice to all of those individuals

allowing them at least 90 days to opt-in to this lawsuit and an individual plaintiff.

                                COUNT II VIOLATION OF THE FLSA

        30. Plaintiff incorporates all prior paragraphs.

        31. Plaintiff suffered substantial damages when Defendant failed and refused to provide

Plaintiff overtime pay.

        32. Defendant was willful in its repeated violation of the FLSA and as a result, Plaintiff

and the class she wishes to represent are entitled to liquidated damages and to seek damages for a

period of time of three years prior to the filing of this lawsuit.

        33. Plaintiff and the opt-in class further seek attorney fees, interest costs and all other

appropriate relief.

                                COUNT III AGE DISCRIMINATION

        34. Plaintiff incorporates all prior paragraphs.

        35. Defendant discriminated against Plaintiff on account of her age.

        36. Defendant disciplined Plaintiff more harshly than other similarly situated employees



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who were younger than Plaintiff.

        37. Defendant made Plaintiff’s working conditions so intolerable that a reasonable

person would not remain in the job, thus causing Plaintiff’s constructive discharge.

        38. Plaintiff has been substantially damaged as a result of Defendant’s discrimination.

                                COUNT IV ADA DISCRIMINATION

        39. Plaintiff incorporates all prior paragraphs.

        40. Plaintiff is a qualified individual with a disability.

        41. Plaintiff was discriminated against by Defendant because of her disability in that

other similarly situated employees who are not disabled were treated better than Plaintiff,

        42. Plaintiff was harassed by Defendant’s supervisors because of her disability.

        43. Plaintiff has been substantially damaged as a result of Defendant’s discrimination.

                                        COUNT V RETALIATION

        44. Plaintiff incorporates all prior paragraphs.

        45. Plaintiff objected to the discriminatory and illegal treatment she received by the

Defendant.

        46. Defendant illegally retaliated against Plaintiff as a result of her complaints, causing

her great emotional distress and leading to her constructive discharge.

        WHEREFORE, Plaintiff, Ruth Clark seeks the following relief against the Defendant Eli

Lilly and Co:

        a. An order allowing Plaintiff to send a notice to all AAs allowing each to opt-in to this

lawsuit as a Plaintiff;

        b. All money damages available to Plaintiff and the opt-in Plaintiffs for overtime pay,

liquidated damages, attorney fees, costs, interest and all other appropriate relief.



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       c. All money damages related to backpay, front pay, liquidated damages, compensatory

relief, punitive damages, interest, costs, attorney fees and all other appropriate relief.


                                        Respectfully submitted,
                                       /s/ Mark Waterfill
                                       Mark R. Waterfill, Atty. No. 10935-49
                                       5235 Decatur Boulevard
                                       Indianapolis, IN 46241
                                         (317) 501-6060
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                                       JURY DEMAND

       Plaintiff demands a trial by jury.


       /s/ Mark Waterfill




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